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                  UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE


United States of America

             v.                           Criminal N o . 09-cr-122-04-JD

Zachary Patten


                                  O R D E R


      The assented to motion to reschedule jury trial (document n o .

72) filed by defendant is granted; Trial is continued as to all

defendants in this case to the two-week period beginning January 5 ,

2010, 9:30 AM.

      Defendant Patten shall file a waiver of speedy trial rights

within 10 days. The court finds that the ends of justice served by

granting a continuance outweigh the best interest of the public and

the defendant in a speedy trial, 18 U.S.C. § 3161(h)(7)(B)(iv), for

the reasons set forth in the motion.

      SO ORDERED.



                                          /s/ Joseph A. DiClerico, Jr.
                                          Joseph A . DiClerico, J r .
                                          United States District Judge

Date:    December 4 , 2009

cc:   Peter Papps, Esq.
      Jonathan Saxe, Esq.
      Kevin Sharkey, Esq.
      Andrew Schulman, Esq.
      Matthew Stachowske, Esq.
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      Douglas Miller, Esq.
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      Andrew Kennedy, Esq.
      U.S. Marshal
      U.S. Probation
